         Case 8:23-bk-10571-SC Doc 153 Filed 06/28/23 Entered 06/28/23 21:25:51                                                                     Desc
                             Imaged Certificate of Notice Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 23-10571-SC
The Litigation Practice Group P.C.                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jun 26, 2023                                               Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 28, 2023:
Recip ID                  Recipient Name and Address
db                      + The Litigation Practice Group P.C., 17542 17th St, Suite 100, Tustin, CA 92780-1981

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 28, 2023                                            Signature:           /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 26, 2023 at the address(es) listed below:
Name                               Email Address
Alan Craig Hochheiser
                                   on behalf of Creditor City Capital NY ahochheiser@mauricewutscher.com arodriguez@mauricewutscher.com

Alan I Nahmias
                                   on behalf of Interested Party Courtesy NEF anahmias@mbn.law jdale@mbnlawyers.com

Andrew Still
                                   on behalf of Interested Party Courtesy NEF astill@swlaw.com kcollins@swlaw.com

Byron Z Moldo
                                   on behalf of Interested Party Byron Moldo bmoldo@ecjlaw.com amatsuoka@ecjlaw.com,dperez@ecjlaw.com

Christopher Celentino
                                   on behalf of Plaintiff Richard A. Marshack christopher.celentino@dinsmore.com caron.burke@dinsmore.com

Christopher Celentino
                                   on behalf of Trustee Richard A Marshack (TR) christopher.celentino@dinsmore.com caron.burke@dinsmore.com
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Date Rcvd: Jun 26, 2023                                    Form ID: pdf042                                                    Total Noticed: 1
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Christopher Ghio
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Eric Bensamochan
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Laila Masud
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Leslie Skorheim
         Case 8:23-bk-10571-SC Doc 153 Filed 06/28/23 Entered 06/28/23 21:25:51                                                      Desc
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Olivia Scott
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Paul R Shankman
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United States Trustee (SA)
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TOTAL: 52
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